         Case 2:21-cv-00096-GAM Document 12 Filed 04/14/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARTIN J. WALSH,                          :
Secretary of Labor                        :
United States Department of Labor         :
                                          :
      v.                                  :     CIVIL ACTION NO. 21-0096
                                          :
LOCAL 98, INTERNATIONAL                   :
BROTHERHOOD OF ELECTRICAL                 :
WORKERS                                   :
______________________________________________________________________________

                                               ORDER

       This 14th day of April, 2021, it is hereby ORDERED that Defendant’s Motion to

Dismiss, ECF 6, is GRANTED in part, as follows:

       The Secretary’s claims relating to 1) the alleged intimidation of Michael Coppinger, 2)

the alleged intimidation of Charles Battle and his supporters occurring at the June 9, 2020

nomination event, and 3) a pattern of intimidation related to past union elections are

DISMISSED.

       The Defendant’s motion is DENIED in all other respects.




                                                     /s/ Gerald Austin McHugh
                                                     United States District Judge
